                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



WILLIAM DARRELL BARNES,

             Petitioner,

v.                                                       3:04-cv-594
                                                         3:00-cr-129


UNITED STATES OF AMERICA,


             Respondent.


                              MEMORANDUM OPINION


      This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255.

The Clerk is DIRECTED to serve a copy of the motion and this Memorandum Opinion and

accompanying Judgment Order on the United States Attorney. However, for the reasons

stated below, the United States Attorney shall not be required to file an answer or other

pleading to the motion, and the motion will be DENIED.

      Petitioner pled guilty to conspiracy to distribute and possess with intent to distribute

marijuana. He was sentenced to a term of imprisonment of 63 months by judgment entered

March 25, 2002. Petitioner did not appeal his conviction or sentence.




 Case 3:00-cr-00129        Document 238    Filed 04/29/05     Page 1 of 4     PageID #: 11
       Petitioner filed his § 2255 motion on December 13, 2004.1 He alleges ineffective

assistance of counsel based upon his attorney's failure to challenge his sentence. According

to petitioner, the government failed to charge him with the conduct for which he was

sentenced. In support of his § 2255 motion, petitioner refers to the recent U.S. Supreme

Court decisions in Blakely v. Washington, 124 S. Ct. 2531 (2004), and United States v.

Booker, 125 S. Ct. 738 (2005), as well as Apprendi v. New Jersey, 530 U.S. 466 (2000).

       Prior to the enactment of the Antiterrorism and Effective Death Penalty Act of 1996

("AEDPA"), the only time constraint for a federal prisoner to file a § 2255 motion was if the

respondent had been prejudiced in responding to the motion or petition because of the delay

in filing. Rule 9(a) of the RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED

STATES DISTRICT COURTS (amended 2004). As a result of the AEDPA, however, a federal

prisoner has one year in which to file a § 2255 motion. The limitation period generally runs

from the date on which the judgment of conviction becomes final.

       In the event a petitioner did not file a direct appeal, the statute of limitation

commences when the time for filing a direct appeal has elapsed. See Chandler v. United

States, 22 Fed.Appx 399, 400, 2001 WL 1176597 *1 (6th Cir. 2001) (citing Johnson v.

United States, 246 F.3d 655, 657-58 (6th Cir. 2001)); see also United States v. Cottage, 307

F.3d 494, 498 (6th Cir. 2002) (footnote omitted) ("because defendant did not pursue a direct


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         The court received the § 2255 motion on December 16, 2004 The envelope, however, bears
a post-mark of December 13, 2005, and thus the motion is considered filed as of that date, pursuant
to the prison mailroom filing rule of Houston v. Lack, 487 U.S. 266, 270-72 (1988). See Towns v.
United States, 190 F.3d 468 (6th Cir. 1999).

                                                2


 Case 3:00-cr-00129        Document 238        Filed 04/29/05     Page 2 of 4      PageID #: 12
appeal from the judgment of conviction, he cannot rely on the 90-day period for seeking

certiorari review of a judgment of the court of appeals to extend the date on which his

conviction became final").

       In petitioner’s case, the statute of limitation began to run on April 8, 2002, which was

ten days after judgment was entered. See FED. R. CRIM. P. 45. Thus, the § 2255 motion was

not filed prior to the expiration of the one-year statute of limitation. Apprendi was denied

before petitioner's sentencing and therefore any claim under Apprendi is time-barred.

       The court notes that 28 U.S.C. § 2255 provides several exceptions to the statute of

limitation, one of which is: the one-year period shall run from "the date on which the right

asserted was initially recognized by the Supreme Court, if that right has been newly

recognized by the Supreme Court and made retroactively applicable to cases on collateral

review." At this time there is no reason to apply Blakely retroactively to a § 2255 motion

such as petitioner's. See, e.g., In Re Dean, 375 F.3d 1287 (11th Cir. 2004). "No court has

yet determined whether Blakely created a new rule of constitutional law made retroactive to

cases on collateral review." Id. at 1290 (citation omitted). In addition, any claim petitioner

may have pursuant to Blakely is now governed by the Supreme Court’s intervening decision

in Booker, which applied the reasoning in Blakely to the federal sentencing guidelines.

       In Booker, the Court noted that its holding should be applied "to all cases on direct

review." United States v. Booker, 125 S. Ct. at 769. The Court did not state that the holding

should be applied retroactively on collateral review of cases in which the judgment has

become final. In fact, the Court quoted Griffith v. Kentucky, 479 U.S.. 314, 328 (1987), for

the proposition that "'a new rule for the conduct of criminal prosecutions is to be applied

                                             3
 Case 3:00-cr-00129      Document 238       Filed 04/29/05     Page 3 of 4     PageID #: 13
retroactively to all cases ... pending on direct review or not yet final, with no exception for

cases in which the new rule constitutes a "clear break" with the past.'" Id. The Sixth Circuit

has, in fact, held that Booker "does not apply retroactively in collateral proceedings."

Humphress v. United States, 398 F.3d 855, 860 (6th Cir. 2005).

       It plainly appears from the face of the motion, the annexed exhibits and the prior

proceedings in the case that the petitioner is not entitled to relief in this court and this action

should be summarily dismissed; an evidentiary hearing is not required. Rule 4 of the RULES

GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED STATES DISTRICT COURTS; Baker

v. United States, 781 F.2d 85, 92 (6th Cir. 1986); Bryan v. United States, 721 F.2d 572, 577

(6th Cir. 1983). Accordingly, the motion to vacate, set aside or correct sentence will be

DENIED and this action DISMISSED.

       In addition to the above, this court has carefully reviewed this case pursuant to 28

U.S.C. § 1915(a) and hereby CERTIFIES that any appeal from this action would not be

taken in good faith and would be totally frivolous. Therefore, this court will DENY the

petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules

of Appellate Procedure. The petitioner having failed to make a substantial showing of the

denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28

U.S.C. § 2253.


       AN APPROPRIATE ORDER WILL ENTER.


                                                             s/ James H. Jarvis
                                                          United States District Judge


                                                4
 Case 3:00-cr-00129        Document 238        Filed 04/29/05     Page 4 of 4      PageID #: 14
